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           EXHIBIT 12
 EXHIBIT FILED UNDER SEAL
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    Date:       Monday, October 4 202112:27 PM
    Subject: Re: Wedge - Task Force
    From:       Maria O'Connor
    To:         Meshari AIOtaibi <                     >;
                Majed Al Sorour <                               >; Mohannad S. Alblehed <                            >; Areej J.
    CC:         Naqshbandi <                          >; Jacobo Solis <               >; Mai AIRasheed
                <                         >; Greg Norman <                                   >;

    Dear Meshari,
    Thank you for your email.

    The Asian Tour confirmed that the Sprint Series press release has been delayed. There might be an increase in
    the prize mo ney for the events in Phuket and as such the Asian Tour Commissioner requested that the release
    was held. I will keep you informed once we have an update .
    Regarding the Task Force, agency partners are due confirm the one individual who will be on the Task Force
    this morning. I will make sure that PIF IID and PMO are included. The first Task Force meeting will be
    scheduled for 11am ET on Tuesday October 5th.
    Best wishes,
    Ma1ia

    Maria O'Connor
    m:



            On 4 Oct 2021 , at 13: 17, Meshari AlOtaibi <                            > wrote:


            Dear Maria,

            Appreciate providing the updates on the below matter. Also, as per the roll-out plan presented to H.E. on Oct 2nd, the
            first day of the plan should start today as following:


               Date        T Minus/       Time (ET)                                 Action                               Respon
                             Plus
              4-Oct-           -14         12:00 AM         Asian Tour Sprint Series Press Release Issued                   Asian
                21                         12:00 AM Press release disseminated to global golf media                         Asian
                                                                          list
                                           12:00 AM Monitor media coverage around Asian Tour;                                      Teneo
                                                     flag any coverage that alludes to The League

            I have added a column namely 'status' to be provided from your end. Meanwhile, we are also expecting to hear from
            your end on the Task Force ema il (please ensure to involve both PIF IID, and PMO)

            Best Regards,
            Meshari Alotaibi


            From: Greg Norman <                                       >
            Sent: Sunday, October 3, 20219:26 PM
            To: Meshari AIOtaibi <                    >
            Cc: Majed Al Sorour <                                 >; Mohannad S. Alblehed <                     sa>; Areej J.
            Naqshbandi <                          >; Jacobo Solis <                >; Mai Al Rasheed <                          >;




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        Maria O'Connor <                                               >
        Subject: Re: Wedge - Task Force


         CAUTION: This email originated from outside of (PIF). Do not click links, open attachments or reply, unless you recognize
         please forward it to               ).
        Good Afternoon Meshari,

        Our team has been working with Maria O'Connor on finalizing the team based off responses to Greg's email. Maria is
        on CC and will make sure to keep all updated on this email.

        Thank you,
        Anna Silverman

        Executive Assistant to Greg Norman

        Sent from my iPhone


               On Oct 3, 2021, at 1:30 PM, Meshari AIOtaibi <                             > wrote:

               Dear Greg,

               Hope this email finds you well.

               My name is Meshari Alotaibi, I am the Project Manager of Wedge project from PIF side.

               With reference to our recent meetings with H.E and the raised suggestion from your end on forming a Task
               Force who shou ld have the full ownership and accountability in leading the roll-out plan activities throughout
               the upcoming days, appreciate your kind support confirming whet her the email was shared from your end so we
               can support in facilitating the next steps accordingly.

               Please let me know if you need any support.

               Best Regards,

                              Meshari Alotaibi, MBA, PMP
               <image002. png Project Management Office
               >              Public Investment Fund
                              T: +                IM: +
                                      E:


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